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 8
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 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. 18-891-DMG

13                Plaintiff,                 STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
14                     v.                    (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
15   ROBIN DIMAGGIO,                         ACT
16                Defendant.                 CURRENT TRIAL DATE:        07/23/2019
                                             PROPOSED TRIAL DATE:       08/27/2019
17

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19           Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Poonam G. Kumar, and
22   defendant Robin DiMaggio (“defendant”), both individually and by and
23   through his counsel of record, Erin Murphy, hereby stipulate as
24   follows:
25           1.   The Information in this case was filed on December 20,
26   2018.    Defendant first appeared before a judicial officer of the
27   court in which the charges in this case were pending on December 10,
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 1   2018.     The Speedy Trial Act, 18 U.S.C. § 3161, originally required

 2   that the trial commence on or before February 28, 2019.

 3           2.    On January 8, 2019, the Court set a trial date of March 12,

 4   2019 and a pre-trial conference for February 27, 2019.

 5           3.    Defendant is released on bond pending trial. The parties

 6   estimate that the trial in this matter will last approximately four

 7   days.

 8           4.    The Court has previously continued the trial date in this

 9   case from March 12, 2019 to July 23, 2019, and found the interim

10   period to be excluded in computing the time within which the trial

11   must commence, pursuant to the Speedy Trial Act.

12           5.    By this stipulation, defendant moves to continue the trial

13   date to August 27, 2019 and the pre-trial conference to August 14,

14   2019.     This is the second request for a continuance.

15           6.    Defendant requests the continuance based upon the following

16   facts, which the parties believe demonstrate good cause to support

17   the appropriate findings under the Speedy Trial Act:

18                 a.   Defendant is charged with a violation of 18 U.S.C.

19   § 1343:      Wire Fraud and 18 U.S.C. § 1957:    Transacting in Criminally-

20   Derived Proceeds.     The government has produced nearly 10,000 pages,

21   including records from civil suits filed against defendant, reports

22   of interview with witnesses and victims, bank records, and escrow

23   records.

24                 b.   Defense counsel for defendant is presently scheduled

25   to be in trial in a one-day CVB matter on July 19, 2019; a four-day

26   wire fraud case in 18-CR-627-FMO on July 23, 2019; a two-day drug

27   distribution case in 18-CR-341-DSF on August 6, 2019; a three-day

28   drug distribution case in 18-CR-417-VAP on August 13, 2019; a

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 1   possession of ammunition case in 18-CR-242 on August 20, 2019; a

 2   felon in possession case in 18-CR-164-AB on August 27, 2019; a three-

 3   day drug case in 13-CR-863-JAK on September 10, 2019; an illegal

 4   reentry after deportation case in 18-CR-247-ODW on September 24,

 5   2017; a bank fraud case in 18-65-FMO on September 24, 2019; a drug

 6   distribution case in 19-164-MWF on October 14, 2019; a three-day

 7   felon in possession case in 18-CR-860-FMO on October 29, 2019; a drug

 8   distribution case in 18-CR-333-VAP on November 12, 2019.

 9                c.   In light of the foregoing, counsel for defendant also

10   represents that additional time is necessary to confer with

11   defendant, conduct and complete an independent investigation of the

12   case, conduct and complete additional legal research including for

13   potential pre-trial motions, review the discovery and potential

14   evidence in the case, and prepare for trial in the event that a

15   pretrial resolution does not occur.       Defense counsel represents that

16   failure to grant the continuance would deny her reasonable time

17   necessary for effective preparation, taking into account the exercise

18   of due diligence.

19                d.   Defendant believes that failure to grant the

20   continuance will deny him continuity of counsel and adequate

21   representation.

22                e.   The government does not object to the continuance.

23                f.   The requested continuance is not based on congestion

24   of the Court’s calendar, lack of diligent preparation on the part of

25   the attorney for the government or the defense, or failure on the

26   part of the attorney for the Government to obtain available

27   witnesses.

28        7.      For purposes of computing the date under the Speedy Trial

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 1   Act by which defendant’s trial must commence, the parties agree that

 2   the time period of July 23, 2019 to August 27, 2019, inclusive,

 3   should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

 4   (h)(7)(B)(i), and (h)(7)(B)(iv) because the delay results from a

 5   continuance granted by the Court at defendant’s request, without

 6   government objection, on the basis of the Court’s finding that: (i)

 7   the ends of justice served by the continuance outweigh the best

 8   interest of the public and defendant in a speedy trial; (ii) failure

 9   to grant the continuance would be likely to make a continuation of

10   the proceeding impossible, or result in a miscarriage of justice; and

11   (iii) failure to grant the continuance would unreasonably deny

12   defendant continuity of counsel and would deny defense counsel the

13   reasonable time necessary for effective preparation, taking into

14   account the exercise of due diligence.

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 1        8.    Nothing in this stipulation shall preclude a finding that

 2   other provisions of the Speedy Trial Act dictate that additional time

 3   periods be excluded from the period within which trial must commence.

 4   Moreover, the same provisions and/or other provisions of the Speedy

 5   Trial Act may in the future authorize the exclusion of additional

 6   time periods from the period within which trial must commence.

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 8        IT IS SO STIPULATED.

 9   Dated: July 1, 2019                  Respectfully submitted,

10                                        NICOLA T. HANNA
                                          United States Attorney
11
                                          BRANDON D. FOX
12                                        Assistant United States Attorney
                                          Chief, Criminal Division
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14                                              /s/
                                          POONAM G. KUMAR
15                                        Assistant United States Attorney
16                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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